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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

             SEYDOU FREEMAN,

                  Plaintiff,
                                                      Case No. 18-cv-12246
                      v.
                                             UNITED STATES DISTRICT COURT JUDGE
                                                     GERSHWIN A. DRAIN
      UNITED STATES POSTAL SERVICE,

                 Defendant.

______________________________/


       OPINION AND ORDER GRANTING DEFENDANT’S MOTION TO
                DISMISS PLAINTIFF’S COMPLAINT [#2]

                                   I. INTRODUCTION

         Plaintiff Seydou Freeman brings the present action against Defendant, the

United States Postal Service, for the alleged misdelivery of a hand scanner. Dkt.

No. 1-1, pg. 1 (Pg. ID 4). Plaintiff contends that Defendant should have delivered a

hand scanner to him in 2017. Id. However, Plaintiff never received the hand

scanner in the mail. Id.


         Plaintiff brought his complaint against Defendant in the 36th Judicial

District Small Claims Court on June 11, 2018. Dkt. No. 1-1, pg. 1 (Pg. ID 4).

Defendant removed the action to this Court on July 18, 2018. Dkt. No. 1. Before

the Court is Defendant’s Motion to Dismiss Plaintiff’s Complaint filed on July 18,


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2018. Dkt. No. 2. Defendant requests this Court dismiss this action without

prejudice for lack of subject matter jurisdiction and for failure to state a claim upon

which relief can be granted. Id. On July 18, 2018, this Court issued an order for

Plaintiff to respond to Defendant’s Motion by August 22, 2018. Dkt. No. 4.

Plaintiff failed to file a response to Defendant’s Motion. For the reasons discussed

below, this Court will grant Defendant’s Motion and dismiss Plaintiff’s complaint

without prejudice.


                                 II. LEGAL STANDARD

         When subject matter jurisdiction is challenged pursuant to Fed. R. Civ. P.

12(b)(1), the plaintiff has the burden of proving jurisdiction in order to survive a

motion to dismiss. Wayside Church v. Van Buren Cty., 847 F.3d 812, 817 (6th Cir.

2017).


         Fed. R. Civ. P. 12(b)(6) governs motions to dismiss. The court must

construe the complaint in favor of the plaintiff, accept the allegations of the

complaint as true, and determine whether plaintiff's factual allegations present

plausible claims. See Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss, a

complaint must “allege enough facts to make it plausible that the defendant bears

legal liability.” Agema v. City of Allegan, 826 F.3d 326, 331 (6th Cir. 2016). The

facts need to make it more than “merely possible that the defendant is liable; they

must make it plausible.” Id. “Bare assertions of legal liability absent some
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corresponding facts are insufficient to state a claim.” Id. A claim will be dismissed

“if the facts as alleged are insufficient to make a valid claim or if the claim shows

on its face that relief is barred by an affirmative defense.” Riverview Health Inst.,

LLC v. Med. Mut. Of Ohio, 601 F.3d 505, 512 (6th Cir. 2010).


                                    III. DISCUSSION

         Defendant asserts that this Court lacks subject matter jurisdiction because

sovereign immunity applies. Dkt. No. 2, pg. 10 (Pg. ID 14). Sovereign immunity

prevents the United States, its agencies, or officials from being subject to lawsuits

unless it has consented to being sued. Muniz-Muniz v. U.S. Border Patrol, 741 F.3d

668, 671 (6th Cir. 2013). “Suits brought against the United States are therefore

dismissed unless a claimant can point to an express waiver of sovereign

immunity.” Jackson v. U.S., 751 F.3d 712, 716 (6th Cir. 2014). Sovereign

immunity must be clearly expressed in statutory text, and it will not be implied. Id.


         Here, Plaintiff is suing the United States Postal Service—an agency of the

United States. Therefore, sovereign immunity is applicable. Plaintiff’s complaint

fails to plead that Defendant has waived its sovereign immunity. See Dkt. No. 1-1.

Therefore, this Court holds that sovereign immunity precludes Plaintiff from

bringing suit against the Defendant in this matter and this Court lacks subject

matter jurisdiction over this claim.



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         Defendant additionally argues that Plaintiff has failed to plead sufficient

facts to state a claim upon which relief can be granted under Fed. R. Civ. P.

12(b)(6). Dkt. No. 2, pg. 12 (Pg. ID 16). This Court agrees. Plaintiff’s one-

paragraph claim states, “my two value hand scanner was delivered to the wrong

address . . . I have not got [a] response from USPS.” Dkt. No. 1-1, pg. 1 (Pg. ID 4).

This is the only statement that describes Plaintiff’s claim against Defendant. This

statement fails to allege sufficient facts to make it plausible that Defendant is

liable. The complaint fails to state specifically the item that Plaintiff claims

Defendant failed to deliver, with proof of its value. See id. The complaint also does

not state any facts about the date of the alleged misdelivery, other than stating the

package has been missing since 2017. Id. Plaintiff’s complaint does not allege

adequate facts that would allow Defendant to defend the action or this Court to rule

on the matter. Therefore, this Court finds that Plaintiff’s complaint fails to state a

claim upon which relief can be granted.


                                    IV. CONCLUSION

         For the reasons discussed herein, this Court will grant Defendant’s Motion.

Plaintiff’s complaint is dismissed without prejudice.


         SO ORDERED.




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         Dated:     September 10, 2018


                                               s/Gershwin A. Drain
                                               HON. GERSHWIN A. DRAIN
                                               United States District Court Judge
	

                           CERTIFICATE OF SERVICE

             Copies of this Order were served upon attorneys of record on
               September 10, 2018, by electronic and/or ordinary mail.
                                 /s/ Teresa McGovern
                                      Deputy Clerk
	
	




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